                                            WOOD & JONES
                                                 A Professional Service Corporation
                                                      303 N. 67th Street
                                                 Seattle, Washington 98103

                                                                                           Telephone:
Jack Jones**                                                                               (206) 623-4382
Denice E. Moewes*                                                                          Fax:
Edmund J. Wood                                                                             (206) 224-4895
*also admitted to practice in Maryland
**(1991)

                                                    February 13, 2012


Judge Karen A. Overstreet
U.S. Bankruptcy Court
700 Stewart Street #7206
Seattle WA 98101-1271

           Re:        Adversary Case No. 12-1040
                      Arkison v Kornerstone Enterprises et al
                      Main Case 10-10222 - Tonkka Trucking and Excavating, LLC.

Dear Judge Overstreet:

           We have not been able to achieve service on the defendants as yet.

        We are requesting reissuance of the summons as we now have a current address available
for service.


                                                             Very truly yours,


                                                             /s/ Denice E. Moewes

                                                             Denice E. Moewes
                                                             Attorney for Chapter 7 Trustee R. Brown




   Case 12-01040-MLB                     Doc 4     Filed 02/13/12          Ent. 02/13/12 16:43:55   Pg. 1 of 1
